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 9
                                        UNITED STATES BANKRUPTCY COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA-LOS ANGELES DIVISION
11

12

13    In re:                                           CASE NO.: 2:21-bk-11188-BB
                                                       CHAPTER 11
14    GLENROY COACHELLA, LLC,
                                                       A. STUART RUBIN'S OMNIBUS REPLY TO
15                                                     U.S.REAL ESTATE CREDIT HOLDINGS
                             DEBTOR.
16                                                     L.P.'S OPPOSITION TO MOTION TO
                                                       DISQUALIFY REED SMITH LLP, AND
17                                                     CHAPTER 11 TRUSTEE'S STATEMENT IN
                                                       OPPOSITION TO MOTION TO DISQUALIFY
18                                                     REED & SMITH AS COUNSEL OF RECORD
19                                                     FOR U.S.REAL ESTATE CREDIT HOLDINGS
                                                       III; DECLARATION OF EVAN L. SMITH;
20                                                     AND SUPPLEMENTAL DECLARATION OF A.
                                                       STUART RUBIN.
21
-'7                                                    DATE: September 1, 2021
                                                       TIME: 10:00 a.m.
23                                                     CTRM: 1539 (By Zoom)
24

25

26

27

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                                                           ***

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 18
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 19
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 1           TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY
 2   JUDGE; U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP ("USRECH") AND ITS
 3   ATTORNEYS OF RECORD REED SMITH, LLP; RICHARD MARSHACK CHAPTER 11
 4   TRUSTEE; OFFICE OF THE UNITED STATES TRUSTEE; AND ALL OTHER INTERESTED
 5   PERSONS OR ENTITIES: Creditor A. Stuart Rubin ("Rubin"), both individually, and in his capacity
 6   as the Manager and owner of Glenroy Coachella Holdings, LLC, which is the sole Member of debtor
 7   Glenroy Coachella, LLC ("Glenroy"), hereby ("Rubin"), hereby replies to U.S. Real Estate Credit
 8
     Holdings           L.P. 's Opposition to Motion to Disqualify Reed Smith LLP ("Opposition"), and the
 9
     Chapter 11 Trustee's Statement in Opposition to Motion to Disqualify Reed & Smith as Counsel of
10
     Recordfor U.S. Real Estate Credit Holdings II ("Trustee's Statement"). References below to "Supp.
11
     Decl. Rubin", are to the concurrently filed Supplemental Declaration of A. Stuart Rubin in Reply to U.S.
12
     Real Estate Credit Holdings III-A, L.P. 's Motion to Disqualify Reed Smith LLP.
13
                                                     I. PREFACE
14
             Instead of addressing the fundamental question at the heart of Rubin's Motion, i.e. whether Reed
15
     Smith LLP ("Reed Smith") failed to fulfill its ethical duties under the Rules of Professional Conduct to
16
     its current client, Glenroy (and also to its former clients, Rubin and his wife, Mrs. Annette Rubin) the
17
     Opposition instead attempts to deflect and draw the Court's focus away from those pertinent issues over
18
     17 pages replete with irrelevant allegations including client blaming (as if the Rules of Professional
19
     Conduct impose ethical duties on clients rather than attorneys), character assassination, accusations of
20
     bad faith litigation tactics by Rubin's counsel, of unreasonable delay by Rubin in bringing the matter to
21
22   the Court's attention, and even by presenting a misleadingly edited excerpt from this Court's Tentative

23   Ruling on the Merits in connection with the 03/10/2021 hearing on the Motion for Appointment of a

24   Chapter 11 Trustee, in order to present it as being "...scathing about Debtor's conduct", instead of what it

25   is, an explanation of the Court's rationale to grant the motion out of an abundance of caution given the

26   number of unproven allegations presented in the pleadings and papers then before it. [See and compare,

27   Opposition, p. 6, lines 4-13 and Decl. Houston ¶ 17, and Exhibit "F"]. In support of the Opposition, the

28

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        In re Glenroy Coachella, LLC                                                       Case No.: 2:21-bk-11188-BB
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 1   Trustee's Statement incorrectly states that Rubin lacks standing to bring the issue of whether Reed Smith
 2   should be disqualified to this Court for adjudication.
 3           What is nowhere present in either the Opposition or the Trustee's Statement, is any showing that
 4   before undertaking its representation of USRECH, Reed Smith fulfilled the duties imposed on it by the
 5   Rules of Professional Conduct to notify Glenroy or the Rubins that it wanted to do so , and obtain the
 6   requisite informed written consent from each of them to undertake that representation, nor do they
 7
     present any rebuttal of the allegations by Rubin that Reed Smith has breached its duties of Loyalty and
 8
     Confidentiality to Glenroy and him. The Opposition contains statements referring to provisions of the
 9
     Reed Smith engagement letter that allow that finn to undertake other representations, but those
10
     contractual provisions do not relieve Reed Smith of its duties to comply with the Rules of Professional
11
     Conduct. In addition, Reed Smith's claims that the HVAC insurance claim matter has been concluded,
12
     and therefore it no longer represents Glenroy, are shown to be false both by a careful reading of the
13
     supporting declarations by current and former Reed Smith attorneys, and by Glenroy's Bankruptcy
14
     Schedules on file in this Case, which disclose the HVAC insurance claims as assets on Schedule A/B
15
     item 75, and list Reed Smith as its attorney under an active, executory contract for Legal Services on
16
     Schedule G. [Decl. Smith, ¶ 2, and Exhibit "G"]. In sum, this Court must not allow itself to be distracted
17
     by the misdirection effort that is the Opposition, but should instead maintain a firm and steady gaze on
18
     whether or not Reed Smith has violated its ethical duties of Loyalty and Confidentiality to its existing and
19
     fonner clients, and therefore has disqualifying conflicts of interest. If the Court does so, disqualification
20
     must follow.
21
22                                             II. ARGUMENT AND LAW

23                                 A. Rubin Has a Right to Raise, Appear, and be Heard
                                   On Any Issue in this Case Under 11 U.S.C. § 1109 (b),
24
                                    And Has Done So Here Due to the Trustee's Failure
25                                 To Seek Disqualification of Reed Smith Because of Its
                                        Conflicts of Interest and Breaches of Duty
26
             As stated above, Rubin is a creditor of Glenroy, and is also the Manager and owner of Glenroy
27
     Coachella Holdings, LLC, which is Glenroy's sole Member. As such, he is an interested party within the
28

                                                              ***

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 1   meaning of Section 1109(b) of the Bankruptcy Code [Title 11 U.S.C.], which provides:
 2
                "(b) A party in interest, including the debtor, the trustee, a creditors' committee, an equity
 3              security holders' committee, a creditor, an equity security holder, or any indenture trustee, may
                raise and may appear and be heard on any issue in a case under this chapter."
 4

 5           Both USRECH and the Chapter 11 Trustee contend, incorrectly, that the Trustee alone has
 6   standing to bring a disqualification motion for Glenroy (See, Opposition at p. 9, line 10 through p. 10,
 7   line 2; and Trustee's Statement at p. 1, lines 23-28, and p. 2, lines 17-24). Rubin agrees the Trustee has
 8   such standing, but not that it is exclusive. However, despite the duties imposed on him by 28 U.S.C. §
 9   959(b), which states that as trustee he ". . .shall manage and operate the property in his possession as such
10   trustee, receiver or manager according to the requirements of the valid laws of the State in which
11
     such property is situated, in the same manner that the owner or possessor thereof would be bound
12
     to do if in possession thereof (emphasis added)", the Trustee has failed to do so in this instance where
13
     Reed Smith has improperly undertaken the representation of USRECH while still representing Glenroy in
14
     violation of the laws of the State of California, as set forth in the Rules of Professional Conduct and the
15
     decisions of the California courts applying them, under both the current and former versions of those
16
     Rules. As stated in In re Joyanna Holdings, Inc., 21 B.R. 323, 325-326 (Bankr. SDNY, 1982):
17
                "Section 1109(b) continues the broad concept, carried over from the 1898 Act, of the broad
18
                right to be heard in order to insure that the dark corners of commerce are illuminated. A
19              general right to be heard would be an empty grant unless those who have such right are also
                given the right to do something where those who should will not. In short, the right to be
20              heard ...includes the right to sue where a trustee or debtor in possession will not."
21           Here, despite having been put on notice of Reed Smith's conflicts by being copied on the May 4,
22   2021, demand letter from Rubin's attorney to the Managing Partner of Reed Smith's Los Angeles office
23   [See, Motion, Decl. Smith, ¶ 4, and Exhibit "E" (ecf Doc 280, p. 48 of 68)], the Trustee for unstated
24   reasons has failed to perform his duties to protect the Estate from Reed Smith's actions adverse to it in
25   violation of the California Rules of Professional Conduct, which also apply in this Court as provided by
26   Local Rule ("LBR") 2090-2(a) of the Bankruptcy Court for the Central District of California, which
27
     governs the professional responsibility of attorneys practicing before this court. That rule incorporates by
28
     reference the District Court's local rule 83-3.1.2, which requires that attorneys comply with the
                                                            ***

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 1   California Rules of Professional Conduct, as interpreted by California case law." Therefore, Rubin has
 2   properly stepped into the breach and moved for the disqualification of Reed Smith.
 3
                                  B. Reed Smith's Simultaneous Representation of Both Glenroy
 4                                      Coachella, LLC and USRECH is Ongoing

 5
             A review of the evidence submitted in support of both USRECH's Opposition, and this Reply
 6
     confirms that Reed Smith is currently representing both USRECH and debtor Glenroy. Glenroy's
 7
     Amended Schedules on file in this Case list its HVAC insurance theft claims as assets, and its Legal
 8
     Services Retainer Agreement with Reed Smith LLP is listed as an executory contract (i.e., a contract on
 9
     which performance remains due to some extent on both sides. In re Robert L. Helms Const. & Dev. Co.,
10
     Inc., (9th Cir. 1998) 139 F.3d 702, 705). [Decl. Smith, 112, and Exhibit "G"]. Additionally, as set forth in
11
     the attached Supplemental Declaration of A. Stuart Rubin In Support of Reply to U.S. Real Estate Credit
12
     Holdings           L.P. 's Opposition to Motion to Disqualify Reed Smith LLP, Reed Smith's representation
13

14   of Glenroy has never been terminated and Rubin, who at the time he was Glenroy's Manager, shared

15   with Mr. Giller extensive confidential information about Glenroy's hotel project and the disputes that led

16   to the litigation initiated by USRECH, prior to Reed Smith entering this case on USRECH's behalf.

17   [Supp. Decl. Rubin, ¶¶ 1 -end, and Exhibits attached thereto].

18           A review of several of the declarations by current and former Reed Smith attorneys proffered by

19   USRECH in support of its Opposition also show that Reed Smith has never taken the steps necessary to

20   terminate its representation of Glenroy, and therefore that firm remains Glenroy's attorneys for the

21   Insurance Matter. In his declaration, former Reed Smith Partner Richard Giller at paragraphs 4 - 6
22   affirms his representation of Mr. and Mrs. Rubin in the Civil Action, in paragraphs 7 — 12 gives an
23   overview of his handling of the Insurance Matter while he was with Reed Smith, and then in paragraph
24   13 states the Insurance Matter was not among the clients or matters that he transferred to his current firm.
25
     What he does not say is that the Insurance Matter was concluded before he left Reed Smith, nor does he
26   state the representation was terminated and returned to Glenroy.
27
             Current Reed Smith Partner David Halbriech's declaration also does not contain evidence to
28
     support USRECH's contention that Reed Smith is not currently representing Glenroy on the Insurance
                                                             ***

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 1   Matter. In the few brief sentences that make up paragraphs 2-4, Mr. Halbreich states he is the Practice
 2   Group Leader for the firm's Insurance Recovery Group, that he has never spoken with Mr. or Mrs. Rubin
 3   about the Insurance Matter, and tellingly that "To my knowledge, Richard Giller did not transfer the
 4   HVAC matter to any other attorney at Reed Smith, nor was it transferred to Mr. Giller's new firm." The
 5   reasonable inferences to be drawn from this testimony are 1. The Insurance Matter is still with Reed
 6   Smith, 2. It has not been actively worked on since Mr. Giller departed the firm, and 3. The case file
 7   apparently is unattended to and gathering dust in the file room, while any applicable statutes of limitation
 8
     continue to run if they haven't already expired due to Reed Smith's neglect.
 9
             Finally, current Reed Smith Partner and Chief Litigation Counsel, Peter J. Kennedy's declaration
10
     has two items that need to be addressed. First, in paragraphs 11 and 12 he states that he sent two separate
11
     emails to "...counsel for Rubin...". He is mistaken. The February 19, 2021, email was to Daniel
12
     Weintraub of Weintraub & Selth, who are Glenroy's Bankruptcy Attorneys (Decl. Houston at ¶ 11 makes
13
     a similar error in reference to Glenroy's Riverside Case attorney Mr. McGarrigle) . The May 5, 2021,
14
     email was to Rubin's attorney in this Case, Evan L. Smith. Second, Mr. Kennedy authenticates 5
15
     redacted invoices for services rendered to Glenroy in connection with the Insurance Matter. While the
16
     fees stated would have grown had Reed Smith actively prosecuted Glenroy's HVAC insurance claims,
17
     they do not come near to what Reed Smith stands to earn from its more lucrative representation of
18
     USRECH if it is given a pass for its ethical breaches of duty and allowed to continue, with more than
19
     2200 hours of time billed to date according to Ms. Houston. [Decl. Houston, ¶ 6].
20
             The Opposition presents a Parade of Horribles that will supposedly befall USRECH if Reed
21
22   Smith is disqualified and it has to engage the services of an unconflicted law firm to represent it

23   (Opposition, p. 14, line 22 through p.15, line 3). These arguments are overstated. Clients engaged in

24   litigation change attorneys all the time, and the courts and other parties involved are able to reasonably

25   accommodate the new attorneys' needs for time to get up to speed. This is not an instance where

26   replacement of counsel on the eve of trial is the issue. Rubin's lawyers, a 5-attorney boutique firm, took

27   over representation in this Case and the Riverside Case in late April 2021, and have been able to cope, as

28   will any AmLaw 100 firm hired by USRECH to replace Reed Smith. If Reed Smith is disqualified

                                                            ***

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 1   because of its failure to decline the engagement from USRECH due to its conflicts, the financial burden
 2   of moving the representation to a new firm will undoubtedly be borne by Reed Smith, not 'innocent
 3   client' USRECH, which also will be able to find numerous unconflicted attorneys in Los Angeles who
 4   are as skilled in Bankruptcy Law and Business Litigation matters as Mr. Rivas and Ms. Houston.
 5           As Reed Smith has been shown to be simultaneously representing both Glenroy and USRECH, it
 6   must be disqualified. As the California Supreme Court stated in In re Charlisse C., (2008) 45 Ca1.4th
 7
     145, 159-160:
 8             "In simultaneous representation cases, "[t]he primary value at stake .. . is the attorney's duty—
               and the client's legitimate expectation—of loyalty, rather than confidentiality." (Id. at p. 284.)]
 9             ?Because a conflict involving an attorney's duty of loyalty is "[t]he most egregious" kind of
               conflict, the disqualification standards we have developed for simultaneous representation
10
               cases are "more stringent" than those that apply in successive representation cases; "[w]ith few
11             exceptions, disqualification [in a case of simultaneous representation] follows automatically,
               regardless of whether the simultaneous representations have anything in common or present
12             any risk that confidences obtained in one matter would be used in the other. (citations
               omitted)."
13
14                 C . Reed Smith Wrongly Disregarded Rubin and Glenroy Coachella, LLCs'
                    Good Faith Efforts to Get It to Withdraw Due to Its Conflicts of Interest
15
16
             According to the Declaration of Reed Smith Partner Marsha Houston at paragraph 5, Reed Smith
17
     began representing USRECH in this action on November 23, 2020. On November 30, 2020, Pat
18
     McGarrigle, Glenroy's attorney of record in the Riverside Case, emailed Chris Rivas of Reed Smith,
19
     notified him that Reed Smith had a conflict because of its representation of Glenroy, and in response
20
     received an email from Ms. Houston denying the conflict in the language that has become Reed Smith's
21
     standard reply when they are pressed on the issue. [Decl. Houston, ¶ 11, and Exhibit "A"], and Reed
22
     Smith refused to withdraw.
23
            Thereafter, following aggressive two-track foreclosure moves by USRECH in the Riverside Case,
24

25   Glenroy filed a voluntary Chapter 11 petition on February 15, 2021. Three days later Glenroy's

26   Bankruptcy Attorney, Mr. Weintraub, sent an email to Ms. Houston that addresses her employment of

27   underhanded litigation tactics, requests a continuance due to her surprise filing of an early major motion

28   to appoint a Chapter 11 Trustee, notifies her on behalf of Glenroy that Reed Smith has conflict, and that

                                                            ***

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 1   he intends to move to disqualify Reed Smith. [Decl. Houston, ¶ 13, and Exhibit "C"]. Unfortunately for

     Glenroy, USRECH's motion to appoint a Trustee, the moving papers for which are replete with the same
 3   types of unsubstantiated smear allegations present in USRECH's Opposition here, was granted, which
 4   effectively sidelined Mr. Weintraub as all of Glenroy's rights of action were thereby transferred to the
 5   newly appointed Trustee.
 6           On April 20, 2021, the law firm Messina & Hankin LLP substituted into the Riverside Case on
 7
     behalf of Rubin (the firm later substituted in as well on behalf of Dr. Elliot Lander). Two days later, the
 8
     firm appeared and successfully argued on behalf of Rubin in opposition to USRECH's Summary
 9
     Adjudication Motion, all while reviewing voluminous files to get up to speed in both this Case and the
10
     Riverside Case. In the course of doing so, counsel learned of Reed Smith's conflicts of interest as to both
11
     Mr. and Mrs. Rubin and Glenroy, and a mere 14 days later, on May 4, 2021, initiated efforts aimed at
12
     getting Reed Smith to voluntarily withdraw as counsel for USRECH. [See, Motion at p. 6, lines 13-20].
13
     Despite USRECH's contentions to the contrary, there is nothing tactical or retaliatory about Messina &
14
     Hankin's efforts to seek the withdrawal or disqualification of Reed Smith, which are simply aimed at
15
     holding Reed Smith to account for its failures to properly discharge its ethical duties to Glenroy and the
16
     Rubins (and incidentally, also its duties to USRECH, which has expended money on attorneys who
17
     should have disclosed to it that they had a conflict and could not ethically undertake its representation so
18
     it could hire a different, unconflicted law firm). The bottom line is that Rule of Professional Conduct
19
     1.16 Declining or Terminating Representation imposes duties on attorneys and firms that Reed Smith
20
     failed to perform, specifically those in 1.16 (a)(2) with respect to USRECH, and (d), and (e)(1) with
21

22   respect Rubin and Glenroy.

23           Finally, in assessing USRECH's assertion that Rubin and his attorneys have unduly delayed in

24   bringing this Motion forward, the standard to be followed is set forth in Zaclor Corp. v. KWC117, (1995) 31

25   Ca1.App.4th 1285, 1302, "Where the party opposing the motion can demonstrate prima facie evidence of

26   unreasonable delay in bringing the motion causing prejudice to the present client, disqualification should

27   not be ordered. The burden then shifts back to the party seeking disqualification to justify the delay.
28   [Citation.] Delay will not necessarily result in the denial of a disqualification motion; the delay and the

                                                            ***
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 1   ensuing prejudice must be extreme:" (emphasis added). Here, the alleged delay and prejudice are
 2   nowhere near extreme. Rubin and Glenroy's attorneys repeatedly sought to get Reed Smith to properly
 3   discharge its duties under the Rules of Professional Conduct and the related case law. Before he could
 4   move on the matter, Glenroy's Bankruptcy Attorney was stripped of the ability to act by Reed Smith's
 5   actions on behalf of USRECH in getting the Trustee appointed. Rubin's current attorneys moved on the
 6   issue within 14 days of undertaking representation. As for Reed Smith's argument that it has incurred a
 7   lot of "billable hours", that was a risk it assumed when it failed to withdraw early on. It should not be
 8
     rewarded with a lucrative contract for breaching its duties of loyalty and confidentiality to the Glenroy
 9
     and the Rubins.
10
                                                III. CONCLUSION
11
             USRECH's Opposition to Rubin's Motion, and the Trustee's Statement are not well taken. Rubin
12
     has standing to put the important question of whether Reed Smith should be disqualified from serving as
13
     USRECH's counsel against the Estate and the other parties to this Case before this Court. Reed Smith's
14
     flagrant breaches of duty, and simultaneous representation of Glenroy and USRECH mandate that it be
15
     disqualified, and the Court should so order.
16
17
     DATED:         8/25 1
                         - 0W'2-1                                       MESSINA & HANKIN, LLP
18
19
                                                                  By:     a7e/PQS4K
20
                                                                               EVAN L. SMITH
21                                                                       Attorneys for A. STUART RUBIN

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 1                                      DECLARATION of EVAN L. SMITH
 2

 3           I, Evan L. Smith, declare:
 4           1. I am an attorney at law, duly admitted to practice before this court, and a Member in good
 5   standing of the State Bar of California. I am an Of Counsel attorney with the law firm Messina &
 6   Harkin, LLP, attorneys of record for A. Stuart Rubin in both the civil action currently pending before the
 7
     Riverside County Superior Court styled U.S. Real Estate Credit Holdings           L.P. v. Glenroy
 8
     Coachella, LLC, et al. (case # RIC 1905743), and the Chapter 11 case currently pending before the U.S.
 9
     Bankruptcy Court, Central District of California styled In re Glenroy Coachella, LLC, case # 2:21-bk-
10
     11188-BB, and am making this declaration in support of my client's A. STUART RUBIN'S OMNIBUS
11
     REPLY TO U.S.REAL ESTATE CREDIT HOLDINGS III-A, L.P.' OPPOSITION TO MOTION TO
12
     DISQUALIFY REED SMITH LLP, AND CHAPTER 11 TRUSTEE'S STATEMENT IN OPPOSITION
13
     TO MOTION TO DISQUALIFY REED & SMITH AS COUNSEL OF RECORD FOR U.S.REAL
14
     ESTATE CREDIT HOLDINGS III. I have personal knowledge of the facts set forth below and, if called
15
     as a witness, could and would attest thereto. No waiver of the attorney-client privilege, or of any other
16
     privilege, is made, intended, or implied hereby.
17
             2. Attached hereto as Exhibit "G" is a true copy of the SUMMARY OF AMENDED
18
     SCHEDULES, MASTER MAILING LIST,AND/OR STATEMENTS [LBR 1007-1(c)] filed by debtor
19
     Glenroy Coachella, LLC in Bankruptcy Case 2:21-bk-11188-BB, as Doc 314 on 07/20/2021, to amend its
20
     Schedule A/B: Assets-Real and Personal Property, and Schedule G: Executory Contracts and Unexpired
21

22   Leases. Item 75, on p. 6 of 14, lists debtor Glenroy's HVAC Insurance Theft Claims in the estimated

23   amount of $ 400,000.00 as an asset of the Bankruptcy Estate. Item 2.10, on p. 11 of 14, lists Glenroy's

24   Legal Services Retainer Agreement with Reed Smith LLP as an open, active executory contract.

25           IN WITNESS WHEREOF, this declaration is executed under penalty of perjury according to

26   the laws of the State of California this 25th day of August 2021 at Murietta, California.

27

28                                                                                EVAN L. SMITH

                                                            ***

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        In re Glenroy Coachella, LLC                                                       Case No.: 2:21-bk-I1188-BB
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                             Exhibit "G"
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Attorney or Party Name, Address, Telephone & FAX Nos.,                       FOR COURT USE ONLY
State Bar No. & Email Address

Daniel J. Weintraub - Bar #132111
James R. Seith - Bar # 123420
Crystle J. Lindsey - Bar #281944
WEINTRAUB & SELTH, APC
11766 Wilshire Boulevard, Suite 1170
Los Angeles, CA 90025
Telephone: (310)207-1494
Facsimile: (310)442-0660
Email: dan@wsrlaw.net


   Individual appearing without attorney
   Attorney for Debtor Glenroy Coachella, LLC

                                           UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA -. **SELECT DIVISION**
In re:                                                                       CASE NO.: 2:21-bk-11188-BB
GLENROY COACHELLA, LLC                                                       CHAPTER: 11                             O
                                                                                   SUMMARY OF AMENDED SCHEDULES,
                                                                                        MASTER MAILING LIST,
                                                                                        AND/OR STATEMENTS
                                                                                           [LBR 1007-1(c)]
                                                              Debtor(s)

A filing fee is required to amend Schedules D or E/F (see Abbreviated Fee Schedule on the Court's website
www.cacb.uscourts.gov). A supplemental master mailing list (do not repeat any creditors on the original) is required as an
attachment if creditors are being added to the Schedule D or E/F.
Are one or more creditors being added? InYes El No

The following schedules, master mailing list or statements (check all that apply) are being amended:
   Z Schedule A/B          ❑ Schedule C            ❑ Schedule D            ❑ Schedule E/F            Cgi Schedule G
   ❑ Schedule H            ❑ Schedule I            ❑ Schedule J            ❑ Schedule J-2            ❑ Statement of Financial Affairs
   ❑ Statement About Your Social Security Numbers                 ❑ Statement of Intention           ❑ Master Mailing List
   ❑ Other (specify)

I/we declare under penalty of perjury under the laws of the United States that the amended schedules, master mailing list, and or
statements are true and correct.

Date: 07/16/2021
                                                                      De      r 1 Signature/

                                                                      Debtor 2 (Joint Debtor) Signature (if applicable)
NOTE: It is the responsibility of the Debtor, or the Debtor's attorney, to serve copies of all amendments on all creditors
      listed in this Summary of Amended Schedules, Master Mailing List, and/or Statements, and to complete and file
      the attached Proof of Service of Document.

           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

December 2015                                                          Page 1                               F 1007-1.1.AMENDED.SUMMARY
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Fill in this information to identify the case:

Debtor name          Glenroy Coachella, LLC

United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)          2:21-bk-11188-BB
                                                                                                                                 ■      Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      ❑ No. Go to Part 2.
      ■ Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

3.          Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.   Account contolled by Receiver                            Checking                                                                   $2,160.00



4.          Other cash equivalents (Identify all)

5.          Total of Part 1.                                                                                                                      $2,160.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      ❑ No. Go to Part 3.
      ■ Yes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                   Prepayment for utilities of approximately $90,000; prepayment for ABC license of
            7.1.   approximately $13,800                                                                                                            $103,800.00




 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment

 9.         Total of Part 2.                                                                                                                    $103,800.00
            Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         Glenroy Coachella, LLC                                                            Case number (If known) 2:21-bk-11188-BB
                Name

Part 3:         Accounts receivable
10. Does the debtor have any accounts receivable?

    ■ No. Go to Part 4.
    ❑ Yes Fill in the information below.


Part 4:         Investments
13. Does the debtor own any investments?

    ■ No. Go to Part 5.
    ❑ Yes Fill in the information below.


Part 5:         Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    ❑ No. Go to Part 6.
    ■ Yes Fill in the information below.

           General description                       Date of the last            Net book value of       Valuation method used    Current value of
                                                     physical inventory          debtor's interest       for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Construction supplies;
           Inventory done by
           Receiver; Value not
           disclosed                                                                            $0.00                                        Unknown



20.        Work in progress
           Unfinished buildings;
           current value unknown
           and appraisal pending;
           book value of
           $approximately 45
           million based on 2019
           depreciation and cost
           segregation.                                                                 $45,000,000.00                                       Unknown



21.        Finished goods, including goods held for resale

22.        Other inventory or supplies

23.        Total of Part 5.                                                                                                                    $0.00
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
           ■ No
           ❑ Yes

25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           ■ No
           ❑ Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           ■ No
           ❑ Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         Glenroy Coachella, LLC                                                        Case number (If known) 2:21-bk-11188-BB
                Name


 Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    ■ No. Go to Part 7.
    ❑ Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ❑ No. Go to Part 8.
    ■ Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.        Office furniture
           Indoor and outdoor furnishings; Inventory
           done by Receiver; Values not disclosed                                      Unknown                                           Unknown



 40.       Office fixtures
           Fixtures; Inventory conducted by Receiver;
           values not disclosed                                                             $0.00                                        Unknown



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                    $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            ■ No
            ❑ Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            ■ No
            ❑ Yes

Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    ■ No. Go to Part 9.
    ❑ Yes Fill in the information below.


Part 9:         Real property
54. Does the debtor own or lease any real property?

    ❑ No. Go to Part 10.
    ■ Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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                Name


            Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
            property                                       extent of           debtor's interest       for current value       debtor's interest
            Include street address or other                debtor's interest   (Where available)
            description such as Assessor                   in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Property located at
                     48100 Van Buren St.,
                     Coachella, California,
                     92236; commonly
                     known as 84-141
                     Avenue 48,
                     Coachella, CA 92236;
                     35 acres on 5 APN
                     parcels; As is market
                     value of
                     approximately                        Tenant in
                     $52,200,000 as of                    Common
                     2019. Updated                        (70.5%
                     appraisal pending.                   interest)                          $0.00     Appraisal                     $52,200,000.00




 56.        Total of Part 9.                                                                                                       $52,200,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
            ■ No
            ❑ Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            ■ No
            ❑ Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    ❑ No.    Go to Part 11.
    ■ Yes Fill in the information below.

            General description                                                Net book value of       Valuation method used    Current value of
                                                                               debtor's interest       for current value        debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.theglenroy.com                                                               $0.00                                          Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Construction plans and permits for the
            Debtor's real estate development project in
            Coachella, CA                                                                    $0.00                                          Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         Glenroy Coachella, LLC                                                         Case number (If known) 2:21-bk-11188-BB
                Name




 65.        Goodwill

 66.        Total of Part 10.                                                                                                                         $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            ■ No
            ❑ Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            ■ No
            ❑ Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            ■ No
            ❑ Yes
              All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    ❑ No.    Go to Part 12.
    ■ Yes Fill in the information below.

                                                                                                                                       Current value of
                                                                                                                                       debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
           Debtor is informed and believes that                                     0.00 -                                  0.00   =
           it has claims against Creditor U.S.                        Total face amount      doubtful or uncollectible amount
           Real Estate and affiliates and certain
           third parties. (TBD) for fraud in the
           inducement and related damages in
           connection with the loan by U.S. Real
           Estate to Debtor; Claim value
           unliquidated, but believed to be in
           excess of $50MM.                                                                                                                        Unknown



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Insurance claims (related to theft of HVAC inventory at
           Debtor's construction project) with Endurance
           American Specialty Insurance Co. and Westchester
           Surplus Lines                                                                                                                           Unknown
           Nature of claim         Insurance Claims
           Amount requested                        $400,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 5
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                 Name


 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                               $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            ■ No
            ❑ Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
     Type of property                                                               Current value of            Current value of real
                                                                                    personal property           property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                        $2,160.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                          $103,800.00

 82. Accounts receivable. Copy line 12, Part 3.                                                     $0.00

 83. Investments. Copy line 17, Part 4.                                                             $0.00

 84. Inventory. Copy line 23, Part 5.                                                               $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                      $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                          $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                      $0.00

 88. Real property. Copy line 56, Part 9                                                                >                     $52,200,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                  $0.00

 90. All other assets. Copy line 78, Part 11.                                   +                   $0.00

 91. Total. Add lines 80 through 90 for each column                                        $105,960.00      + 91b.           $52,200,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                        $52,305,960.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 7
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 Fill in this information to identify the case:

 Debtor name         Glenroy Coachella, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-11188-BB
                                                                                                                               ■   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Lease of 2018 Land
              lease is for and the nature of              Rover Range Rover
              the debtor's interest

                  State the term remaining
                                                                                     Ally Financial
              List the contract number of any                                        P.O. Box 78234
                    government contract                                              Phoenix, AZ 85062


 2.2.         State what the contract or                  Development
              lease is for and the nature of              Agreement with the
              the debtor's interest                       City of Coachella, dated
                                                          February 15, 2018, for
                                                          the development and
                                                          construction of the
                                                          hotel and resort on the
                                                          Debtor's multiple
                                                          parcels of property
                                                          commonly known as
                                                          48100 Van Buren St.,
                                                          Coachella, CA 92236
                  State the term remaining                                           City of Coachella
                                                                                     Attn: City Manager
              List the contract number of any                                        1515 Sixth Street
                    government contract                                              Coachella, CA 92236


 2.3.        State what the contract or                   First Amendment to the
             lease is for and the nature of               Memorandum of
             the debtor's interest                        Understanding
                                                          between the City of
                                                          Coachella, the Debtor
                                                          and Coachella
                                                          Lighthouse, LLC, dated
                                                          October 8, 2020, with
                                                          respect to the
                                                          Development
                                                          Agreement with the         City of Coachella
                                                          City of Coachella.         Attn: City Manager
                  State the term remaining                April 30, 2022, unless     1515 Sixth Street
                                                          further extended or        Coachella, CA 92236

Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 3
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 Debtor 1 Glenroy Coachella, LLC                                                             Case number (if known)   2:21-bk-11188-BB
              First Name               Middle Name                   Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                                                           terminated
             List the contract number of any
                   government contract


 2.4.        State what the contract or                   Construction
             lease is for and the nature of               management and
             the debtor's interest                        consulting agreement

                  State the term remaining
                                                                                     Colliers International Group, LLC
             List the contract number of any                                         11601 Wilshire Blvd., Suite 1950
                   government contract                                               Los Angeles, CA 90025


 2.5.        State what the contract or                   Agreement to Pay
             lease is for and the nature of               Assessment and
             the debtor's interest                        Finance Improvements

                  State the term remaining
                                                                                     CSCDA
             List the contract number of any                                         1700 N. Broadway, Suite 405
                   government contract                                               Walnut Creek, CA 94596


 2.6.        State what the contract or                   Hotel consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Highgate Hotels, LP
             List the contract number of any                                         870 Seventh Ave., 2nd Fl.
                   government contract                                               New York, NY 10019


 2.7.        State what the contract or                   Hotel license
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     InterContinental Hotels Group
             List the contract number of any                                         3 Ravinia Dr., Suite 100
                   government contract                                               Atlanta, GA 30346-2149


 2.8.        State what the contract or                   PACE Funding
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     PACE Equity LLC
             List the contract number of any                                         731 N. Jackson St., Suite 420
                   government contract                                               Milwaukee, WI 53202




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 3
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 Debtor 1 Glenroy Coachella, LLC                                                               Case number (if known)   2:21-bk-11188-BB
              First Name               Middle Name                   Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.9.        State what the contract or                    Lease of 2019 Bentley
             lease is for and the nature of                Bentayga
             the debtor's interest

                  State the term remaining
                                                                                       Porsche Financial Services, Inc.
             List the contract number of any                                           1 Porsche Dr.
                   government contract                                                 Atlanta, GA 30354-1654


 2.10.       State what the contract or                   Legal Services Retainer
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                             Reed Smith, LLP
                                                                                       355 South Grand Avenue
             List the contract number of any                                           Suite 2900
                   government contract                                                 Los Angeles, CA 90071-1514




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 3
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               ADDITIONAL SERVICE INFORMATION (if needed):
1.   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


     Steven M Berman on behalf of Interested Party EFO Financial Group LLC
     sbennan@slk-law.com, awit@shumaker.com;bgasaway@shumaker.corn

     Daren Brinkman on behalf of Creditor Saxon Engineering Services Inc.
     office@brinkmanlaw.com, 7764052420@filings.docketbird.com

     Caroline Djang on behalf of Creditor Doug Wall Construction
     caroline.djang@bbklaw.com, laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com

     Caroline Djang on behalf of Interested Party Caroline R. Djang caroline.djang@bbklaw.com,
     laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com

     Jenny L Doling on behalf of Attorney INTERESTED PARTY
     JD@jdl.law, dolingjr92080@notify.bestcase.com

     Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
     eryk.r.escobar@usdoj.gov

     Chad V Haes on behalf of Trustee Richard A Marshack (TR) chaes@marshackhays.com,
     chaes@ecf.courtdrive.com;cmendoza@ecf.courtdrive.com;cmendozamarshackhays.com;kfrederick@ecf.cour
     tdrive.com

     Brian S Harnik on behalf of Creditor Blair Air, Inc
     bharnik@rhlawfirm.com, bharnik@rhlawfirm.com

     Douglas Harris on behalf of Interested Party Courtesy NEF
     Douglas.harris@alston.com

     William C Hoggard on behalf of Creditor Orco Block & Hardscape
     wch@wchlawgroup.com, admin@wchlawgroup.com

     Mark S Horoupian on behalf of Interested Party Courtesy NEF
     mhoroupian@sulmeyerlaw.com, mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeverlaw.com

     Marsha A Houston on behalf of Creditor U.S. Real Estate Credit Holdings III-A, LP
     mhouston@reedsmith.com

     Michael S Kogan on behalf of Interested Party Courtesy NEF
     mkogan@koganlawfinn.com

     Timothy R Laquer on behalf of Interested Party Courtesy NEF
     trl@ddclaw.com, trl@ddclaw.com

     Timothy R Laquer on behalf of Interested Party Gary Stiffelman
     trl@ddclaw.com, trl(cD,ddclaw.com

     Leib M Lerner on behalf of Interested Party Courtesy NEF
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    Crystle Jane Lindsey on behalf of Debtor Glenroy Coachella, LLC
    crystle@wsrlaw.net; crystle@cillaw.com; gabby@wsrlaw.net; dairi@wsrlaw.net

    Richard A Marshack (TR)
    pkraus@marshackhays.com, rmarshack@icgtechnology.com;ecfalert+Marshack(C-Nitlexi.com

    Sean A OKeefe on behalf of Interested Party Stuart Rubin
    sokeefe@okeefelc.com, seanaokeefe@msn.com

    Matthew D Pham on behalf of Interested Party Courtesy NEF
    mpham@hahnlawyers.com, marias@hahnlawyers.com:mpham@ecf.courtdrive.com

    Maria Plumtree on behalf of Creditor GF Investment Group, Inc. dba The Investment Center, a California
    corporation
    agrow@plumtreelaw.com, mplumtree@plumtreelaw.com

    Dean G Rallis, Jr on behalf of Interested Party Courtesy NEF
    drallis@hahnlawyers.com;
    marias@hahnlawyers.commpham@hahnlawyers.com;drallis@ecf.courtdrive.com;drallis(ecf.inforuptcy.com

    Debra Riley on behalf of Creditor California Statewide Communities Development Authority
    drilev@allenmatkins.com

    Christopher 0 Rivas on behalf of Creditor U.S. Real Estate Credit Holdings III-A, LP
    crivas(cbreedsmith.com, chris-rivas-8658(iiecfpacerpro.com

    James R Selth on behalf of Debtor Glenroy Coachella, LLC
    iim@wsrlaw.net, iselth@vahoo.com;dairi@wsrlaw.net;gabby@wsrlaw.net;vinnet ecf.inforuptcy.com

    James R Selth on behalf of Interested Party Courtesy NEF
    jim@wsrlaw.net, jselth@yahoo.com;dairi@wsrlaw.net;gabby@wsrlaw.net;vinnet@ecf.inforuptcv.com

    Leonard M Shulman on behalf of Interested Party Latham Management & Consulting Services, Inc.
    lshulman@shulmanbastian.com

    Alan G Tippie on behalf of Interested Party Courtesy NEF
    atippie@suhneyerlaw.com, atippieAecf.courtdrive.com;pdillamar@sulmeverlaw.com

    Alan G Tippie on behalf of Interested Party Edwin W. Leslie, Receiver
    atippie@sulmeyerlaw.com, atippie@ecf.courtdrive.com;pdillamar@sulmeyerlaw.com

    United States Trustee (LA)
    ustpregion 1 6.1a.ecf@usdoj .gov

    Daniel J Weintraub on behalf of Debtor Glenroy Coachella, LLC
    dan@wsrlaw.net, vinnet@ecf.inforuptcy.com:gabby@wsrlaw.net;dairi@wsrlaw.net
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
11766 Wilshire Boulevard, Suite 1170
Los Angeles, CA 90025


A true and correct copy of the foregoing document entitled (specify): SUMMARY OF AMENDED SCHEDULES, MASTER
MAILING LIST, AND/OR STATEMENTS [LBR 1007-1(c)] will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 07/20/2021        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date)                                 , I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                    ❑ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery. overnight mail service; or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                    ❑ Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 07/20/2021         Maggie Chiang                                                    /s/ Maggie Chiang
 Date                      Printed Name                                                    Signature


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

December 2015                                                         Page 2                              F 1007-1.1.AMENDED.SUMMARY
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
24910 Las Brisas Road, Suite 102, Murrieta, CA 92562

A true and correct copy of the foregoing document entitled (specify): A. STUART RUBIN'S OMNIBUS REPLY TO U.S.
REAL ESTATE CREDIT HOLDINGS III-A, L.P.' OPPOSITION TO MOTION TO DISQUALIFY REED SMITH LLP, AND
 CHAPTER 11 TRUSTEE'S STATEMENT IN OPPOSITION TO MOTION TO DISQUALIFY REED & SMITH AS
 COUNSEL OF RECORD FOR U.S.REAL ESTATE CREDIT HOLDINGS III-A; DECLARATION OF EVAN L. SMITH;..
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
08/25/2021         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  SEE ATTACHED SERVICE LIST




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 08/25/2021           , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

 Debtor: Glenroy Coachella, LLC, 1801 S. La Cienega Blvd., Suite 301, Los Angeles, CA 90035

 Peter Kennedy, Esquire; Reed Smith LLP 355 S. Grand Avenue Suite 2900, Los Angeles, CA 90071
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 08/25/2021           , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
   Hon. Sheri Bluebond
 U.S. Bankruptcy Court-Roybal Building
 255 E. Temple Street, Suite 1534/Courtroom 1539
 Los Angeles, CA 90012
                                                                                      ri    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                                     /1-
08/25/2021      YESENIA MEZA
  Date                     Printed Name                                             ptt!re



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
    • ATTORNEY FOR INTERESTED PARTY EFO FINANCIAL GROUP LLC: Steven M Berman sberman@slk-
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    • ATTORNEY FOR CREDITOR SAXON ENGINEERING SERVICES INC AND COMMITTEE OF UNSECURED
       CREDITORS: Daren Brinkman office@brinkmanlaw.com, 7764052420@filings.docketbird.com
    • ATTORNEY FOR CREDITOR DOUG WALL CONSTRUCTION: Caroline Djang caroline.djang@bbklaw.com,
       laurie.verstegen@bbklaw.com; wilma.escalante@bbklaw.com
    • INTERESTED PARTY COURTESY NEF: Jenny L Doling JD@jdl.law, dolingjr92080@notify.bestcase.com
    • ATTORNEY FOR CREDITORS LASERSCOPIC MEDICAL CLINIC, LLC; LASERSCOPIC SPINAL CENTERS
       OF AMERICA, INC.; AND JOE SAMUEL BAILEY: Jonathan R Doolittle jonathan.doolittle@pillsburylaw.com
    • ATTORNEY FOR U.S. TRUSTEE (LA): Eryk R Escobar eryk.r.escobar@usdoj.gov
    • ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Chad V Haes chaes@marshackhays.com,
       chaes@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com; cmendoza@marshackhays.com;
       kfrederick@ecf.courtdrive.com
    • ATTORNEY FOR CREDITOR BLAIR AIR, INC.: Brian S Harnik bharnik@rhlawfirm.com, bharnik@rhlawfirm.com
    • ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
    • ATTORNEY FOR CREDITOR ORCO BLOCK & HARDSCAPE: William C Hoggard wch@wchlawgroup.com,
       admin@wchlawgroup.com
   • INTERESTED PARTY COURTESY NEF: Mark S Horoupian mhoroupian@sulmeyerlaw.com,
       mhoroupian@ecf.inforuptcy.com; ccaldwell@sulmeyerlaw.com
   • ATTORNEY FOR CREDITOR U.S. REAL ESTATE CREDITOR HOLDINGS III-A, LP: Marsha A Houston
       mhouston@reedsmith.com
   • INTERESTED PARTY COURTESY NEF: Michael S Kogan mkogan@koganlawfirm.com
   • ATTORNEY FOR INTERESTED PARTY GARY STIFFELMAN: Timothy R Laquer trl@ddclaw.com,
       trl@ddclaw.com
   • ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: Crystle Jane Lindsey crystle@wsrlaw.net,
       crystle@cjIlaw.com; gabby@wsrlaw.net; dairi@wsrlaw.net
   • INTERESTED PARTY COURTESY NEF: Tinho Mang tmang@marshackhays.com, tmang@ecf.courtdrive.com;
       kfrederick@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com
   • TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
      rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
   • ATTORNEY FOR CREDITOR PORSCHE FINANCIAL SERVICES, INC. dba BENTLEY FINANCIAL SERVICES
       and CREDITOR PORSCHE LEASING LTD: Stacey A Miller smiller@tharpe-howell.com
   • ATTORNEY FOR INTERESTED PARTY STUART RUBIN: Sean A OKeefe sokeefe@okeefelc.com,
       seanaokeefe@msn.com
   • INTERESTED PARTY COURTESY NEF: R Gibson Pagter, Jr.: gibson@ppilawyers.com, ecf@ppilawyers.com;
       pagterrr51779@notify.bestcase.com
   • INTERESTED PARTY COURTESY NEF: Matthew D Pham mpham@hahnlawyers.com,
      marias@hahnlawyers.com; mpham@ecf.courtdrive.com
   • ATTORNEY FOR CREDITOR LAW OFFICES OF JEFFREY D SEGAL, A PROFESSIONAL CORPORATION:
      Sheila M Pistone sheila@pistonelawoffice.com, sheilapistone@yahoo.com
   • ATTORNEY FOR CREDITOR GF INVESTMENT GROUP, INC. DBA THE INVESTMENT CENTER, A
       CALIFORNIA CORPORATION: Maria Plumtree agrow@plumtreelaw.com, mplumtree@plumtreelaw.com
   • ATTORNEY FOR CREDITORS AL MILLER & SONS ROOFING CO INC; APPLE J PLUMBING; DESERT
       PALM ELECTRIC INC; JACOBSSON ENGINEERING CONSTRUCTION INC; MASCORRO CONCRETE
       CONSTRUCTION INC; TANDEM WEST GLASS INC; TEMALPAKH INC DBA THE WORKS FLOOR & WALL:
      Thomas J Polis tom@polis-law.com, paralegal@polis-law.com; r59042@notify.bestcase.com
   • ATTORNEY FOR CREDITOR CALIFORNIA STATEWIDE COMMUNITIES DEVELOPMENT AUTHORITY:
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   • ATTORNEY FOR CREDITOR U.S. REAL ESTATE CREDITOR HOLDINGS III -A, LP: Christopher 0 Rivas
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   • ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: James R Selth jim@wsrlaw.net, jselth@yahoo.com;
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   • ATTORNEY FOR INTERESTED PARTY LATHAM MANAGEMENT & CONSULTING SERVICES, INC.:
       Leonard M Shulman Ishulman@shulmanbastian.com
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•   ATTORNEY FOR INTERESTED PARTIES ELLIOT LANDER AND STUART RUBIN: Evan L Smith
    els@elsmithlaw.com
•   ATTORNEY FOR INTERESTED PARTY EDWIN W. LESLIE, RECEIVER: Alan G Tippie
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•   U.S. TRUSTEE (LA): United States Trustee (LA) ustpregion16.1a.ecf@usdoj.goy
•   ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: Daniel J Weintraub dan@wsrlaw.net,
    vinnet@ecf.inforuptcy.com; gabby@wsrlaw.net; dairi@wsrlaw.net




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